UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
In Re:                                                        Chapter 11

EASTGATE WHITEHOUSE LLC,                                       Case No. 22-22635 (SHL)

                                                               CERTIFICATION
                                   Debtor.                     OF RESOLUTION
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                I William W. Koeppel, the Managing Member of Eastgate Whitehouse LLC (the

"LLC"), do hereby certify that at a meeting of the members of the LLC duly called and held on the

19th day of August, 2022, the following resolutions were adopted by the LLC, and they have not

been modified or rescinded, and are still in full force and effect:

                                "RESOLVED, that in the judgment of the members, it is
        desirable and in the best interest of this LLC, its Creditors, and other interested
        parties, that a Petition be filed by this LLC under Chapter 11 of the Bankruptcy
        Code; and it was further "

                               RESOLVED, that the form of Petition under said Chapter 11
        presented to this meeting be, and the same hereby is, approved and adopted in all
        respects, and that I, as President, am authorized to execute and verify a Petition
        substantially in such form and to cause the same to be filed with the United States
        Bankruptcy Court for the Southern District of New York at such time as he shall
        determine; and it was further

                                RESOLVED, that this LLC be, and he hereby is, authorized to
        execute and file all Petitions, reorganization schedules, lists and other papers and to
        take any and all action which it may deem necessary or proper in connection with
        such Chapter 11 Case, and, in that connection, that the firm of Shafferman &
        Feldman LLP be retained and employed as legal counsel for the Corporation under a
        general retainer, in addition to such special counsel as may hereafter become
        necessary or proper with a view to the successful termination of such Chapter 11
        Case."

                      IN WITNESS WHEREOF, I have hereunto set my hand and seal of the
Corporation this 19th day of August, 2022.



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Dated: New York, New York
       August 19, 2022      __/S/ William W. Koeppel__________________
                             Eastgate Whitehouse LLC
                             By: William W. Koeppel, as Managing Member




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